Case 4:22-mj-02082 Document 1 Filed on 09/06/22 in TXSD Page 1 of 6
Case 4:22-mj-02082 Document 1 Filed on 09/06/22 in TXSD Page 2 of 6
Case 4:22-mj-02082 Document 1 Filed on 09/06/22 in TXSD Page 3 of 6
Case 4:22-mj-02082 Document 1 Filed on 09/06/22 in TXSD Page 4 of 6
Case 4:22-mj-02082 Document 1 Filed on 09/06/22 in TXSD Page 5 of 6
Case 4:22-mj-02082 Document 1 Filed on 09/06/22 in TXSD Page 6 of 6
